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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMALE KEOVILAY
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,      )
10                                  )     Cr.S. 09-222-GEB
                     Plaintiff,     )
11                                  )     STIPULATION AND ORDER
               v.                   )
12                                  )
     KHAMALE KEOVILAY, et al.,      )     DATE: March 18, 2011
13                                  )     TIME: 9:00 a.m.
                     Defendants.    )     JUDGE: Hon. Garland E. Burrell
14                                  )
     __________________________     )
15
16
          It is hereby stipulated and agreed to by the United States of
17
     America through HEIKO P. COPPOLA, Assistant United States Attorney, and
18
     TODD D. LERAS, Assistant United States Attorney, defendant, KHAMALE
19
     KEOVILAY, by and though his counsel, DENNIS S. WAKS, Supervising
20
     Assistant Federal Defender, defendant, DAVID CHENG by and through his
21
     attorney, ALICE W. WONG, defendant MINGH THAM, by and through his
22
     attorney MICHAEL B. BIGELOW, defendant DUNG NGUYEN, by through his
23
     attorney MICHAEL D. LONG, SANG HIN SAELEE, by and through his attorney,
24
     OLAF W. HEDBERG, defendant LONG NGUYEN, by and through his attorney,
25
     CHRISTOPHER H. WING, and defendant TUAN DAO, by and through his
26
     attorney KEN GIFFARD, that the status conference set for Friday,
27
     January 14, 2011, be continued to a status conference on Friday, March
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           Case 2:09-cr-00222-TLN Document 132 Filed 01/12/11 Page 2 of 3


1    18, 2011, at 9:00 a.m.
2         This continuance is being requested because defense counsel needs
3    additional time to prepare, to review discovery, and to interview
4    witnesses.   The parties have received a large amount of discovery,
5    including Title III documents.
6         Furthermore, the parties stipulate and agree that the interest of
7    justice served by granting this continuance outweighs the best interest
8    of the public and the defendants in a speedy trial.          (18 U.S.C. §
9    3161(h)(7)(A)).
10        Speedy trial time is to be excluded from the date of this order
11   through the date of the status conference set for March 18, 2011,
12   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
13   (Local Code T4).
14                                     Respectfully submitted,
15                                     DANIEL J. BRODERICK
                                       Federal Defender
16
     DATED: January 10, 2011           /S/ Dennis S. Waks
17
                                       DENNIS S. WAKS
18                                     Supervising Assistant Federal Defender
                                       Attorney for Defendant
19                                     KHAMALE KEOVILAY
20   DATED: January 10, 2011
21                                     /s/ Dennis S. Waks for
22                                     ALICE W. WONG, Attorney for
                                       DAVID CHENG
23
     DATED: January 10, 2011
24                                     /s/ Dennis S. Waks for
25                                     MICHAEL B. BIGELOW, Attorney for
                                       MINH THAM
26
27   DATED: January 10, 2011           /s/ Dennis S. Waks for
28                                     MICHAEL D. LONG, Attorney for
                                       DUNG NGUYEN

                                             2
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1
     DATED: January 10, 2011              /s/ Dennis S. Waks for
2
                                          OLAF W. HEDBERG, Attorney for
3                                         SANG HIN SAELEE
4
5    DATED: January 10, 2011
                                          /s/ Dennis S. Waks for
6
                                          CHRISTOPHER H. WING, Attorney for
7                                         LONG NGUYEN
8
     DATED: January 10, 2011
9                                         /s/ Dennis S. Waks for
10                                        KEN GIFFARD Attorney for
                                          TUAN DAO
11
12
                                          BENJAMIN B. WAGNER
13                                        United States Attorney
14
     DATED: January 10, 2011              /s/ Dennis S. Waks for
15
                                          HEIKO P. COPPOLA
16                                        Assistant U.S. Attorney
17                                        /s/ Dennis S. Waks for
18                                        TODD D. LERAS
                                          Assistant U.S. Attorney
19
20                                        O R D E R
21
                  IT IS SO ORDERED.
22
23   Dated:     January 11, 2011
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25                                        GARLAND E. BURRELL, JR.
26                                        United States District Judge

27
28


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